
The petition for belated appeal of the denial of petitioner's postconviction motion after evidentiary hearing, order dated November 18, 2015, is granted in circuit court case number 07-CF-2121. This order shall serve as a notice of appeal for purposes of calculating the time standards of the Florida Rules of Appellate Procedure. Within twenty days the trial court shall consider appellant's eligibility for appointment of appellate counsel, provided appellant files within ten days a motion in the circuit court requesting same accompanied by a financial affidavit, and shall enter an order thereupon, with a copy to appellant and a copy to this court. This ten-day time limit shall not limit the trial court's authority to provide counsel to appellant.
The circuit court clerk shall treat this order as a notice of appeal, promptly certify same and return it to this court as with any notice of appeal, and a new appellate case number will be assigned to this appeal and an acknowledgment letter will issue at that time.
LaROSE, C.J., and CASANUEVA and SALARIO, JJ., Concur.
